






NO. 07-07-0136-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



DECEMBER 10, 2007


______________________________



In the Interest of E.D.B., a child


_________________________________



FROM THE 233rd DISTRICT COURT OF TARRANT COUNTY;



NO. 233-335729-02; HON. WILLIAM W. HARRIS, PRESIDING


_______________________________



Memorandum Opinion


______________________________



Before QUINN, C.J. and CAMPBELL and PIRTLE, JJ.

	Stephanie Betts appeals from an order denying her motion for a new hearing or trial. 
The motion was filed after the trial court signed a document entitled "Default Order in Suit
to Modify Parent-Child Relationship."  In her request for new trial, Betts admitted being
served with the petition seeking modification of the relationship.  She further represented,
in her motion, to taking no "action at that time because the documents did not include a
hearing date or time in any form or fashion."  Nevertheless, she was directed, via the
citation she received, to file a written answer to the petition "at or before 10 o'clock A.M.
of the Monday next after the expiration of 20 days after the date of service" of the petition. 
No answer was filed within that deadline or before the "Default Order" was signed by the
trial court on February 14, 2007.  Now Betts contends that the trial court erred in denying
her a new trial.  We affirm the order.

	Apparently two motions for new trial were actually filed.  The first was received by
the district clerk on February 16, 2007, and contained neither an accompanying affidavit
or verification of the factual statements in it.  The second motion was filed on March 13,
2007, or approximately six days after the trial court denied the first motion.  

	As for the first motion, the trial court's docket sheet disclosed that the court
convened a hearing on the motion on March 7, 2007.  No transcription of that proceeding
appears of record, however.  Nor does the record disclose that Betts requested one. 
Similarly missing is citation or reference by Betts to any evidence touching upon the
elements necessary to secure a new trial and admitted at the March 7th hearing.  See
Craddock v. Sunshine Bus Lines, Inc., 134 Tex. 388, 133 S.W.2d 124, 126 (1939)
(discussing the elements prerequisite to securing a new trial).  And, our review of the
record also failed to reveal that such evidence was even tendered at the proceeding. 
Given these circumstances, we have no basis to say that the trial court abused its
discretion in denying that motion.  See Christiansen v. Prezelski, 782 S.W.2d 842, 843
(Tex. 1990) (stating that when the appellant fails to supply the appellate court with a
complete record of the evidence admitted at trial, the reviewing court may presume that the
missing items support the trial court's decision).

	As for the second motion, we note that it had to be filed with leave of court since it
was not tendered before the prior motion was denied.  See Tex. R. Civ. P. 329b(b) (so
requiring).  Nothing of record indicates that such leave was obtained.  Nor does Betts
contend that the trial court somehow erred in not affording her the requisite leave. 
Accordingly, the record again fails to illustrate that the trial court abused its discretion in not
granting a new trial.  See Liberty Mutual Fire Ins. Co. v. Ybarra, 751 S.W.2d 615, 619 (Tex.
App.-El Paso 1988, no writ) (finding no error in the denial of an amended motion for new
trial filed several hours after the trial court had orally overruled the original motion for new
trial).

	The order of the trial court is affirmed.  


							Brian Quinn 

						          Chief Justice



/span&gt;

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 364th DISTRICT COURT OF LUBBOCK COUNTY;

NO. 2005-409683; HON. BRADLEY S. UNDERWOOD, PRESIDING
_______________________________


Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ. 
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Johnny E. Martinez appeals his jury conviction of the offense of
possession of methamphetamine in an amount of less than one gram,


 and his resulting
sentence of twenty years imprisonment in the Institutional Division of the Texas
Department of Criminal Justice.  Via two issues, appellant challenges the sufficiency of the
evidence to support his conviction and asserts the trial court erred by failing to properly
instruct the jury.  Finding the evidence sufficient and no error in the court’s jury instructions,
we affirm.&nbsp;
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The State’s case was presented through the testimony of the assistant manager of
a Lubbock motel, a Lubbock police officer and the State’s chemist.  Appellant presented
his case through cross-examination of the State’s witnesses.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The assistant manager testified that on the day of appellant’s arrest he went to one
of the motel’s rooms because its occupants had not checked out at the normal noon check-out time.  On his inquiry, the occupants, a male and a female, told him they were going to
pay for another night.  When no payment had been made by 2:00 p.m., police were called. The police officer testified he responded to the call, went to the room and spoke with
the male occupant, later identified as appellant.  Appellant first gave the officer a false
name but on further questioning provided accurate identification.  The officer arrested
appellant for his failure to identify himself.


  While he was being escorted to the patrol car,
appellant asked the officer to get his $21 from the bed in the motel room.  The officer found
the money underneath a pillow on one of the room’s beds.  He also found, lying next to the
money, a plastic bag containing a substance appearing to be methamphetamine.  The
State’s chemist confirmed the substance contained methamphetamine and had a net
weight of 0.05 grams.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The officer’s later search of the room produced a straw and two glass pipes, as well
as men’s clothing, hygiene products, and a game system.   He did not locate any items that
appeared to belong to a female.   At appellant’s request, the officer gave all of appellant’s
personal belongings, with the exception of the narcotics, to another individual.  Appellant
was then arrested for possession of a controlled substance in addition to his failure to
identify offense. &nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The defense cross-examined each of the State’s witnesses, highlighting the facts
that appellant was not in the room when the methamphetamine was found by the police
officer, the drugs were not found in plain view, and, when found, the drugs were not
accessible to him.  Appellant elicited testimony indicating the hygiene products found in the
motel room were consistent with products used by both males and females.  The defense
also emphasized the fact that the woman in the room with appellant was also charged with
possession of a controlled substance.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At the close of the evidence, the jury found appellant guilty as alleged in the
indictment.  After preparation of a pre-sentencing report, the court considered punishment
evidence and assessed punishment at twenty years imprisonment in the Institutional
Division of the Texas Department of Criminal Justice. This appeal followed.
&nbsp;
Analysis
Legal and Factual Sufficiency
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his first issue, appellant argues that the evidence was legally and factually
insufficient to prove that he actually possessed the methamphetamine for which he was
charged.  In reviewing issues of legal sufficiency, an appellate court views the evidence in
the light most favorable to the verdict to determine whether, based on that evidence and
reasonable inference therefrom, a rational jury could have found each element of the
offense beyond a reasonable doubt.  Swearingen v. State, 101 S.W.3d 89, 95
(Tex.Crim.App. 2003); Conner v. State, 67 S.W.3d 192, 197 (Tex.Crim.App. 2001), citing
Jackson v. Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979).  If, given all
of the evidence, a rational jury would necessarily entertain a reasonable doubt of the
defendant’s guilt, due process requires that we reverse and order a judgment of acquittal. 
Swearingen,&nbsp;101 S.W.3d at 95, citing Narvaiz v. State, 840 S.W.2d 415, 423
(Tex.Crim.App. 1992), cert. denied, 507 U.S. 975, 113 S.Ct. 1422, 122 L.Ed.2d 791 (1993). 
Circumstantial evidence is as probative as direct evidence in establishing guilt, and
circumstantial evidence alone can be sufficient to do so.  Hooper v. State, 214 S.W.3d 9
(Tex.Crim.App. 2007), citing Guevara v. State, 152 S.W.3d 45, 49 (Tex.Crim.App. 2004). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A factual sufficiency review of the evidence is “barely distinguishable” from the legal
sufficiency review under Jackson v. Virginia.  Marshall v. State, 210 S.W.3d 618, 625
(Tex.Crim.App. 2006). A factual sufficiency review considers whether the evidence
supporting guilt, though legally sufficient, is so weak that the jury’s verdict seems clearly
wrong and manifestly unjust, or evidence contrary to the verdict is such that the jury’s
verdict is against the great weight and preponderance of the evidence.  Id.; Watson v.
State, 204 S.W.3d 404, 414-15 (Tex.Crim.App. 2006); Johnson v. State, 23 S.W.3d 1, 11
(Tex.Crim.App. 2000).  In a factual sufficiency review, we again consider all the evidence,
but now in a neutral light.  Marshall, 210 S.W.3d at 625; Watson, 204 S.W.3d at 414. 
Although an appellate court’s authority to review factual sufficiency permits the court to
disagree with the fact finder’s determinations, even to a limited degree those concerning
the weight and credibility of the evidence, the appellate court must accord them due
deference.  Marshall, 210 S.W.3d at 625; Johnson, 23 S.W.3d at 9.  When there is a
conflict in the evidence, to find it factually insufficient we must first be able to say, with
some objective basis in the record, that the great weight and preponderance of all the
evidence contradicts the jury’s verdict.  Watson, 204 S.W.3d at 417. &nbsp;
Application
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The State was required to prove beyond reasonable doubt that appellant
intentionally or knowingly possessed methamphetamine in an amount less than one gram. 
Tex. Health &amp; Safety Code Ann. § 481.115(b) (Vernon 2003). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To establish possession, the State must prove two elements: (1) that the accused
exercised care, control, or management over the contraband, and (2) that the accused
knew the matter possessed was contraband.


 Poindexter v. State, 153 S.W.3d 402, 405
(Tex.Crim.App. 2005).   Possession may be established through circumstantial evidence
and while mere presence is insufficient to support a conviction, it is an applicable
circumstance.  McGoldrick v. State,&nbsp;682 S.W.2d 573, 578 (Tex.Crim.App. 1985).  The
State is not required to prove that the accused had exclusive possession of the
contraband.  Deshong v. State, 625 S.W.2d 327, 329 (Tex.Crim.App. 1981).  When more
than one person exercises control over the place where the substance is found, however,
some independent link must exist between the accused and the contraband to permit the
inference he had knowledge of and control over it.  Evans v. State, 202 S.W.3d 158, 161-62 (Tex.Crim.App. 2006); Poindexter, 153 S.W.3d at 406.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A “link” generates a reasonable inference that the defendant knew of the
contraband's existence and exercised control over it.  Brown v. State,&nbsp;911 S.W.2d 744, 747
(Tex.Crim.App. 1995). The State's evidence need not exclude every reasonable hypothesis
other than the defendant's guilt, but it must show facts and circumstances that, when
viewed in the totality of the circumstances, indicate the defendant's knowledge of and
control over the drugs and demonstrate that the defendant's connection with the drugs was
more than fortuitous.  Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Among the potential links between a defendant and contraband are: (1) the
defendant's presence when the search was conducted; (2) whether the contraband was
in plain view; (3) the defendant's proximity to and the accessibility of the narcotic; (4)
whether the defendant was under the influence of narcotics when arrested; (5) whether the
defendant possessed other contraband or narcotics when arrested; (6) whether the
defendant made incriminating statements when arrested; (7) whether the defendant
attempted to flee; (8) whether the defendant made furtive gestures; (9) whether there was
an odor of the contraband; (10) whether other contraband or drug paraphernalia were
present; (11) whether the defendant owned or had the right to possess the place where the
drugs were found; (12) whether the place where the drugs were found was enclosed; (13)
whether the defendant was found with a large amount of cash; and (14) whether the
conduct of the accused indicated a consciousness of guilt.  Evans, 202 S.W.3d at 162
n.12, citing Olivarez v. State, 171 S.W.3d 283, 291 (Tex.App.–Houston [14th Dist.] 2005,
no pet.).  The number of factors present is not as important as the logical force the factors
have in establishing the elements of the offense.  Evans, 202 S.W.3d at 166; Gilbert v.
State, 874 S.W.2d 290, 298 (Tex.App.–Houston [1st Dist.] 1994, pet. ref’d).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, appellant emphasizes evidence that he contends shows he was not in control
of the room or the contraband.  Evidence showed that the motel room was rented by a
female and that a female occupant was found in the room with appellant.  Evidence
showed also that the female admitted to smoking drugs using one of the glass pipes earlier
in the day and an officer testified some of the items in the room could have belonged to a
female. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The jury also could have credited evidence, however, showing appellant’s control
over the motel room.  Both occupants were in the room when the assistant manager
contacted them and when police arrived.  Appellant, not the female occupant, talked with
the assistant manager about the room.  Male, not female, clothing was in the room. 
Appellant, not the female, claimed ownership of the personal effects in the room.  It was
appellant, not the female occupant, who told the officer he had not been able to get money
from friends to pay for the room.  Nonetheless, we agree with appellant that the evidence
of shared control over the motel room requires the presence of additional independent
facts and circumstances linking him to the methamphetamine found in the room. 
Poindexter, 153 S.W.3d at 406.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The jury could reasonably have found such facts and circumstances, beginning with
the location of the bag of methamphetamine next to appellant’s $21.  Appellant’s argument
on appeal suggests that the female occupant placed the drugs next to his money while he
was out of the room, but he can point to no direct evidence to support that theory, and the
circumstantial evidence gives rise to an equally reasonable inference that both the money
and the drugs belonged to appellant.  See Hooper, 214 S.W.3d at 16 (an inference is a
conclusion reached by considering other facts and deducing a logical consequence from
them); Brown, 911 S.W.2d at 747.  Especially when combined with appellant’s apparent
ownership of the clothing and personal effects in the room, the location of the
methamphetamine with his money provides evidence his connection with the drugs was
not merely fortuitous.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The female occupant’s admission she smoked methamphetamine does not diminish
the strength of the inference of appellant’s knowing control of the drugs.  Recall two pipes
with residue were found in the room.  If anything, the evidence of methamphetamine
smoking in the room makes it less likely appellant was unaware of the drug’s presence.  
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Viewing the evidence in the light most favorable to the verdict, we find a rational trier
of fact could have found, beyond a reasonable doubt, that appellant knowingly exercised
care, control or management over the methamphetamine.  Thus, we find the evidence
legally sufficient to support the jury’s conviction of appellant.  
We find the evidence factually sufficient as well.  Considering the entire record, we
conclude the proof of appellant's guilt is neither so obviously weak as to undermine
confidence in the jury's determination, nor such that it is greatly outweighed by contrary
proof.  We overrule appellant’s first issue.
Court’s Charge to Jury
In his second issue, appellant contends that the trial court erred in failing to properly
instruct the jury of the State’s requirement to affirmatively link appellant to the
methamphetamine.  As both parties acknowledge, the trial court must give the jury “a written
charge distinctly setting forth the law applicable to the case; not expressing any opinion as
to the weight of the evidence, not summing up the testimony, discussing the facts or using
any argument in his charge calculated to arouse the sympathy or excite the passions of the
jury.”  Tex. Code. Crim. Proc. Ann. art. 36.14 (Vernon 2007). In his argument in support of this issue, appellant notes the jury charge did not
include instructions regarding affirmative links or the fact that mere presence at the crime
scene was insufficient to prove possession.  Appellant’s argument calls for the type of
instruction courts have found improper.  See Deener v. State, 214 S.W.3d 522, 529-30
(Tex.App.– Dallas 2006, pet. ref’d) (holding instructing jury on affirmative links rule improper
because rule is only a shorthand expression for evaluating sufficiency of the evidence);
Davila v. State, 749 S.W.2d 611, 614 (Tex.App.–Corpus Christi 1988, pet. ref’d) (declining
to hold instruction requiring evidence to “affirmatively link” appellant to heroin was
necessary).


 The trial court did not err by failing to include such an instruction here.   We
overrule appellant’s second issue.
Finding no error, we affirm the judgment of the trial court.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

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Do not publish.

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